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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

VALERIE HICKS,                               )
                                             )
                   Plaintiff,                )
                                             )
             v.                              )      Case No. 4:22 CV 167 CDP
                                             )
MENARD, INC.,                                )
                                             )
                   Defendant.                )

                  AMENDED CASE MANAGEMENT ORDER

      IT IS HEREBY ORDERED that the parties’ Joint Motion to Amend the

Scheduling Order [17] is GRANTED. Plaintiff’s Motion to Modify Referral to

Alternative Dispute Resolution [15] is DENIED as moot.

      IT IS FURTHER ORDERED that the following schedule shall apply to the

remaining proceedings in this case, and will be modified only upon a showing of

exceptional circumstances:

      I.     SCHEDULING PLAN

      1.     The remaining discovery matters shall proceed as follows:

            (a) Defendant shall make expert witnesses available for depositions,
and have depositions completed, no later than October 7, 2022.

              (b) The presumptive limits of ten (10) depositions per side as set forth
in Rule 30(a)(2)(A), Fed. R. Civ. P., and twenty-five (25) interrogatories per party as
set forth in Rule 33(a), Fed. R. Civ. P., continue to apply.

          (c) The parties shall complete all discovery in this case no later than
November 30, 2022.
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             (d) Motions to compel shall be pursued in a diligent and timely
manner, but in no event filed more than seven (7) days following the discovery
deadline set out above.

       2.    This case remains referred to alternative dispute resolution and that
reference shall terminate on November 30, 2022. Not later than October 21, 2022,
lead counsel Joseph A. Ott shall notify the clerk of the agreed choice of neutral
selected by the parties and the date, time and location of the initial ADR Conference
(see Designation of Neutral/ADR Conference Report form,
<www.moed.uscourts.gov>, ADR, forms). In all other respects, the Order Referring
Case to Alternative Dispute Resolution filed March 18, 2022 (ECF 13) remains in full
force and effect.

       3.     Any motions to dismiss, motions for summary judgment, motions for
judgment on the pleadings, or any motions to limit or exclude expert testimony must
be filed no later than December 7, 2022. Opposition briefs shall be filed no later
than thirty (30) days after the motion or January 6, 2023, whichever is earlier. Any
reply brief may be filed no later than ten (10) days following the response brief or
January 17, 2023, whichever is earlier.

      II.   ORDER RELATING TO TRIAL

     This action is removed from the trial docket of Monday, March 13, 2023, and
is RESET for JURY trial on Monday, June 5, 2023, at 8:30 a.m. This is a two-
week docket.

     In all other respects, the Order Relating to Trial set out in the Case
Management Order filed March 18, 2022 (ECF 12) remains in full force and effect.

      Failure to comply with any part of this Amended Case Management

Order may result in the imposition of sanctions.



                                      CATHERINE D. PERRY
                                      UNITED STATES DISTRICT JUDGE

Dated this 28th day of September, 2022.
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